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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 LYLE VanNAHMEN,

                          Plaintiff,


 vs.                                                      Case No.       17-1174 - EFM

 DODGE CITY COMMUNITY COLLEGE,

                          Defendant.




                                     TRIAL SCHEDULING ORDER

        This matter will be called for trial at 9:00 a.m. May 21, 2019. The matter will commence

in Courtroom 408 in the Federal Courthouse in Wichita, Kansas. This is a #1 trial setting. The

case is allotted 3 days for trial.

        Following are your trial deadlines. Please note these dates may differ from those on the

Pretrial Order issued by the Magistrate Judge.

        a) Final witness and exhibit disclosures are to be filed by both parties no later than April

30, 2019. All objections to these disclosures are to be filed no later than May 6, 2019. Copies of

exhibits may be used during trial in lieu of originals. All exhibits shall be marked no later than 5

business days before trial.

        The parties shall exchange copies of exhibits at or before the time they are marked. The

parties shall also prepare lists of their expected exhibits, in the form attached to this order, for

use by the courtroom deputy and the court reporter. Three (3) copies of the exhibit list shall be

provided to the Court at the beginning of the trial; one for the judge, one for the courtroom

deputy, and one for the court reporter. In marking exhibits, the parties shall use preassigned
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ranges of numbered exhibits. Exhibit Nos. 1-400 shall be reserved for plaintiff(s); Exhibit Nos.

401-800 shall be reserved for defendant(s); Exhibits 801 and higher shall be reserved for any

third party. Each exhibit that the parties expect to offer shall be marked with an exhibit sticker,

placed in a three-ring notebook, and tabbed with a numbered tab that corresponds to the exhibit

number. The parties shall prepare exhibit books with copies of the exhibits to be provided to the

Judge and opposing counsel. During trial, all exhibits that have been admitted shall remain with

the courtroom deputy unless the court directs otherwise.

       Parties are expected to use presentation technology available in the courtroom to display

evidence to the jury. For presentation during deliberations, counsel shall provide, in electronic

format, any exhibits of documents, photographs, videos, and any other evidence that may be

reduced to an electronic file no later than May 14, 2019 for the use of Court personnel and the

Court’s Jury Evidence Recording System (JERS) during trial. Documents and photographs shall

be in .pdf, .jpg, .bmp, .tif, or .gif format; video and audio recordings shall be in .avi, .wmv, .mpg,

.mp3, .wma, or .wav format. Each electronic exhibit shall be saved as a separate, independent

file and provided to the Court on a storage device, such as a cd, dvd, or flash drive. Exhibit files

shall be named consistent with their order and name on the exhibit list.             Detailed JERS

instructions can be found on the undersigned Judge’s web page.

       At trial, witnesses who are within the subpoena power of the Court and who are officers,

agents, or employees of the parties need not be formally subpoenaed to testify, provided that

opposing counsel is given at least 3 business days advance notice of the desired date of trial

testimony. For purposes of this entire order, the calculation of “business days” does not include

Saturday, Sunday, or any legal holiday as defined by Fed. R. Civ. P. 6(a)(4).

       By no later than 5:00 p.m. each day of trial, counsel shall confer and exchange a good

faith list of the witnesses who are expected to testify the next day of trial.

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       b)    Motions in Limine are to be filed by both parties no later than May 6, 2019.

Responses to the Motions in Limine are to be filed by May 10, 2019. No replies will be filed.

       c) Any deposition testimony sought to be offered by a party other than to impeach a

testifying witness shall be designated by page and line. Before filing any objections, the parties

shall have conferred in good faith to resolve the dispute among themselves.            Deposition

testimony designations are to be filed by both parties no later than April 30, 2019. Any

objections to the designations and counter designations shall be filed no later than May 6, 2019.

All objections to counter deposition designations are to be filed by May 9, 2019.

       Copies of depositions transcripts for which the parties have not been able to resolve their

disputes after conferring in good faith shall be marked with different colored highlighting. Red

highlighting shall be used to identify the testimony that plaintiff(s) has designated, blue

highlighting shall be used for defendant(s), yellow highlighting shall be used for any third party,

and green highlighting shall be used to identify the objections to any designated testimony with

objections noted in the margin. An Index of the page numbers in the transcript the objection can

be found shall be included. They are to be hand delivered to the trial judge by May 16, 2019 at

9:00 a.m. Following the Court’s ruling on the objections, the parties shall then file the portions

of the depositions to be used at trial in accordance with D. Kan. Rule 32.1.           Deposition

testimony of non-party witnesses should not be designated unless they are not available for

appearance, and will not appear, at trial.

       d) Proposed Instructions and a proposed Verdict Form, which should be submitted as

one jointly agreed upon set if possible, but if not shall be separately submitted with brief

explanation and legal authority, shall be (in either case) filed by May 9, 2019, and objections to

any proposed instructions are to be filed by May 14, 2019. Parties should not submit stock



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instructions. The parties are to email a copy of proposed instructions, in either Word or

WordPerfect format, to chambers email account for use in preparing the final instructions.

       e) If either of the parties chooses to file a trial brief in advance of trial, the Court would

appreciate having it by May 14, 2019.

       f) If either of the parties choose to submit proposed voir dire questions for the Court,

those should be filed by May 14, 2019. The Court will conduct the initial voir dire, but

thereafter will allow each party up to 30 minutes apiece for its own voir dire.

       A pretrial status conference will be held at 10:00 a.m. on May 20, 2019. This conference

will be held in Judges Chambers in the Wichita, Kansas Federal Courthouse, 401 N. Market,

Room 414. At that time, the parties should be prepared to argue their motions in limine if asked

to do so by the Court, and identify any other anticipated evidentiary problems or other issues

regarding witnesses or exhibits.

       IT IS SO ORDERED.

       Dated this 22nd day of April, 2019.




                                                      ERIC F. MELGREN
                                                      UNITED STATES DISTRICT JUDGE




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                EXHIBITS FOR (plaintiff or defendant)

                CASE NO. _____________-EFM


No.         Exhibit                                 ID OFF ADM WITNESS




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